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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Western Division

Stephanie Mackey, et al.
                                      Plaintiff,
v.                                                       Case No.: 3:21−cv−50283
                                                         Honorable Iain D. Johnston
Chemtool Incorporated, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 12, 2023:


        MINUTE entry before the Honorable Lisa A. Jensen: Defendants' motion for
telephonic access to the 7/13/2023 hearing [222] is unopposed and granted. Telephonic
access is available via the following call−in number: (877) 336−1831 with access code
2813746 # or via the following link: https://teleconference.uc.att.com/ecm/?bp=40444363
97&mac=2813746.; Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions. Mailed notice. (vk)




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